Case 9:20-cv-00043-RC-CLS Document 5 Filed 11/23/20 Page 1 of 2 PageID #: 102



                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE EASTERN DISTRICT OF TEXAS

                                             LUFKIN DIVISION

EDWARD HERRERA                                           §

VS.                                                      §                CIVIL ACTION NO. 9:20cv43

LORIE DAVIS                                              §

                                 INITIAL PARTIAL FILING FEE ORDER

         Parties instituting any civil action, suit or proceeding are required to pay a filing fee of

$350.00 if they are granted leave to proceed in forma pauperis. In this action, plaintiff has filed a

motion to proceed in forma pauperis. The Prison Litigation Reform Act of 1996 (PLRA) requires

prisoners seeking to bring civil actions in forma pauperis to pay an initial partial filing fee. The Act

further requires prisoners thereafter to pay the balance of the full filing fee. It is accordingly

         ORDERED that:

         1. Plaintiff’s motion to proceed in forma pauperis (doc. no. 2) is GRANTED. The Clerk

shall file plaintiff’s pleadings without prepayment of the filing fee.

         2. An initial partial filing fee of $24.67 shall be paid to the Clerk within thirty (30) days

from the date set forth below.1 Upon receipt of the initial partial filing fee, the Court, as required

by the PLRA, will order the agency having custody of plaintiff to make monthly withdrawals from
plaintiff’s inmate account and forward them to the Court until the balance of the full filing fee is

paid.

         3. Plaintiff is responsible for timely payment of the initial partial filing fee. Plaintiff is

notified that the Clerk’s Office no longer accepts cash as a form of payment at any office within the

Eastern District of Texas. Only checks or credit card payments will be accepted. If payment will

be made from plaintiff’s inmate trust account, plaintiff shall execute all consents and other




         1
             Plaintiff’s average deposits for the preceding six month period were $123.33. Twenty percent of $123.33
is $24.67.
  .
Case 9:20-cv-00043-RC-CLS Document 5 Filed 11/23/20 Page 2 of 2 PageID #: 103



documents required by the agency having custody of plaintiff to authorize the necessary withdrawals

from plaintiff’s inmate account.

       4. Failure to pay the initial partial filing fee or to show that plaintiff has insufficient assets

or means to pay the initial partial filing fee within 30 days may result in dismissal of plaintiff’s

complaint without further notice.



                     SIGNED this the 23rd day of November, 2020.




                                                          ____________________________________
                                                          KEITH F. GIBLIN
                                                          UNITED STATES MAGISTRATE JUDGE




                                                   2
